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                                                                                                                                  t __

                                         UNITED STATES DISTRICT COURT                                                       ~_t_



                                              SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                               ~ ~ r-/'      l~            q: :: ~ j
               UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                                    V.                                   (For Offenses Committed On or After November 1, 198,7~
                                                                                                                                          ·L:,~~:-;l'~J'"
              TERRANCE MARTEL SODA (1)
                     aka Kosher                                             Case Number:         15CR0278~JLS             -rt1
                                                                         KURT DAVID HERMANSEN
                                                                         Defendant's Attorney
REGISTRATION NO.                    44142298


IX!    pleaded guilty to count(s)          3 of the Indictment
                                          -----------------------------------------------------------
       was found guilty on count(s)
    after a plea of not guiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                         Count
Title & Section                          Nature of Offense                                                                        Number(s)
18 USC 1591(a) & (b)                     Sex trafficking of children                                                                 1




    The defendant is sentenced as provided in pages 2 through                       4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
       The defendant has been found not guilty on count(s)

 ~     Count(s)    (remaining counts)                              are         dismissed on the motion of the United States.

 IX!   Assessment: $100.00 imposed



 IX! No fine                    IX! Forfeiture pursuant to order filed   1012/2015                    , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                         October 2. 2015
                                                                         Date of Imposition of Sentenc




                                                                                                                                   15CR0278-JLS
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:

 Seventy-two (72) months




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI   The court makes the following recommendations to the Bureau of Prisons:

            1. Residential Drug Abuse Program (RDAP)
            2. Provide mental care
            3. Incarceration at FCI Terminal Island or in the alternative FCI Victorville

       The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o     at                             A.M.              on
             as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
             on or before
        o    as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on
                                ------------------------- to
 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                         15CR0278-JLS
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                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

Ten (10) years

     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o           substance abuse. (Check, if applicable.)
C?J         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
IE]
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
            Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o           The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
       Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                          STANDARD CONDITIONS OF SUPERVISION
       I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)  the defendant shall support his or her dependents and meet other family responsibilities;
       5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
           reasons;
       6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted permission to do so by the probation officer;
       10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view of the probation officer;
       11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
            the court; and
       13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
            with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION


   1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
       and counseling, as directed by the probation officer. Allow for reciprocal release of information between
       the probation officer and the treatment provider. May be required to contribute to the costs of services
       rendered in an amount to be determined by the probation officer, based on ability to pay.

   2. Submit your person, property, house, residence, vehicle, papers, computer, social media accounts,
      electronic communications or data storage devices or media, and effects to search at any time, with or
      without a warrant, by any law enforcement or probation officer with reasonable suspicion concerning a
      violation of a condition of probation/supervised release or unlawful conduct, and otherwise in the lawful
      discharge of the officer's duties. 18 U.S.c. §§3563(b)(23); 3583(d)(3).

   3. Not use or possess devices which can communicate data via modem or dedicated connection and may not
      have access to the Internet without prior approval from the court or the probation officer. The offender
      shall consent to the installation of systems that will enable the probation officer to monitor computer use
      on any computer owned or controlled by the offender. The offender shall pay for the cost of installation
      of the computer software

   4. Not have any contact, direct or indirect, either telephonically, visually, verbally, or through written
      material, or through any third-party communication, with the victim or victim's family, without prior
      approval of the probation officer.

   5. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.

    6. Not associate with known prostitutes or pimps and/or loiter in known areas frequented by those engaged
       in prostitution.

    7. Comply with the requirements of the Sex Offender Registration and Notification Act (42 USC §16901,
       et seq.) as directed by the probation officer, the Bureau of Prisons, or any other state sex offender
       registration agency in which he or she resides, works or is a student, or was convicted of a qualifying
       offense.

    8. Participate in a program of mental health treatment as directed by the probation officer, take all
       medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
       permission. The court authorizes the release of the presentence report and available psychological
       evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
       release of information between the probation officer and the treatment provider. May be required to
       contribute to the costs of services rendered in an amount to be determined by the probation officer, based
       on ability to pay.

    9. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
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